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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
KCB:GP/KM                                           271 Cadman Plaza East
F# 2024R00204                                       Brooklyn, New York 11201



                                                    January 14, 2025

By Email and ECF

The Honorable Lara K. Eshkenazi
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Oscar Eduardo Quilarque Sosa
                      Criminal Docket No. 25-12 (RPK) (CLP)

Dear Judge Eshkenazi:

                 The government submits this letter in advance of the defendant Oscar Eduardo
Quilarque Sosa’s initial appearance and detention hearing in the above captioned case. For the
reasons set forth in detail below, because the defendant poses a danger to the community and is a
flight risk, the government respectfully requests that the defendant be detained pending trial.

I.     Background

       A.      The Defendant’s Charged Conduct

               On January 8, 2025, a grand jury sitting in the Eastern District of New York
returned a four-count indictment against the defendant, charging him with violations of Title 18,
United States Code, Sections 922(a)(1)(A) (unlicensed firearms dealing), 922(g)(5)(A) (illegal
alien in possession of firearms) and 933 (trafficking in firearms), and Title 21, United States
Code, Section 841(a)(1) (distribution and possession with intent to distribute one or more
controlled substances). The charges relate to a series of controlled purchases conducted by
federal law enforcement agents, during which the defendant personally sold numerous firearms
and/or narcotics on seven occasions in Queens and the Bronx.

               In particular, between September 2024 and October 2024, the defendant sold, on
two separate occasions, a total of approximately 1.1 kilogram of a substance known as “Tusi,”
which is a powdery concoction that contained MDMA and ketamine; approximately 100 grams
of that substance further contained methamphetamine. Photos below show the Tusi the
defendant sold:
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                Then, between October 2024 and November 2024, on five separate occasions, the
defendant sold a total of 11 firearms, including five rifles, as well as high-capacity magazines for
those rifles and various rounds of ammunition in calibers compatible with the sold firearms. The
photos of the firearms the defendant sold are below:




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               All seven of the narcotics and/or firearms sales the defendant made were captured
in video and audio recordings during which the defendant can be seen making the sales,
including taking cash payments for those sales. Furthermore, law enforcement agents observed
the defendant at the scene of all seven sales.

       B.     The Defendant’s January 13, 2025 Arrest and Suspected Shooting

                The defendant was arrested on January 13, 2025 pursuant to an arrest warrant
issued in connection with the above-captioned indictment. The defendant was arrested while in a
vehicle in or near Monroe, New York.


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       C.      The Defendant’s Criminal History and Immigration Status

              The defendant has no criminal history within the United States. According to
records maintained by the Department of Homeland Security, the defendant, who is a
Venezuelan citizen, illegally entered the United States in approximately May 2023 and has been
unlawfully remaining in the United States without valid authorization or status.

II.    Legal Standard

                Under the Bail Reform Act, 18 U.S.C. § 3141 et seq., federal courts are
empowered to order a defendant’s detention pending trial upon a determination that the
defendant is either a danger to the community or a risk of flight. 18 U.S.C. § 3142(e). A finding
of dangerousness must be supported by clear and convincing evidence, United States v. Ferranti,
66 F.3d 540, 542 (2d Cir. 1995), and risk of flight must be proven by a preponderance of the
evidence, United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987).

               In cases such as this, however, where there is probable cause to believe that the
defendant has violated 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii), there is a statutory
presumption that “no condition or combination of conditions will reasonably assure the
appearance of the person as required and the safety of the community.” 18 U.S.C.
§ 3142(e)(3)(A). Even if a defendant can overcome that presumption, the special risk of
dangerousness posed by defendants who have committed such crimes “remains a factor to be
considered among those weighed by the district court.” United States v. Mercedes, 254 F.3d
433, 436 (2d Cir. 2001).

                The concept of “dangerousness” encompasses not only the effect of a defendant’s
release on the safety of identifiable individuals, such as victims and witnesses, but also “‘the
danger that the defendant might engage in criminal activity to the detriment of the community.’”
United States v. Millan,4 F.3d 1038, 1048 (2d Cir. 1993) (quoting legislative history).

                Whether detention is sought on the basis of flight or dangerousness, the Bail
Reform Act lists four factors to be considered in the detention analysis: (1) the nature and
circumstances of the crimes charged, including whether the offense involves a controlled
substance or a firearm; (2) the weight of the evidence against the defendant; (3) the history and
characteristics of the defendant; and (4) the seriousness of the danger posed by the defendant’s
release. See 18 U.S.C. § 3142(g).

               The possibility of a significant sentence is an important factor in assessing a
defendant’s likelihood of flight. See Jackson , 823 F.2d at 7; United States v. Martir, 782 F.2d
1141, 1147 (2d Cir. 1986) (defendants charged with serious offenses whose maximum combined
terms created potent incentives to flee); United States v. Zhang, 55 F.4th 141, 151 (2d Cir. 2022)
(“The prospect of a severe sentence can create a strong incentive for a defendant to flee and
thereby avoid that sentence.”).

                Evidentiary rules do not apply at detention hearings and the government is
entitled to present evidence by way of proffer, among other means. See 18 U.S.C. § 3142(f)(2);
see also United States v. LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000). In the pre-trial


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context, few detention hearings involve live testimony or cross-examination. Most proceed on
proffer. LaFontaine, 210 F.3d at 131. This is because bail hearings are “typically informal
affairs, not substitutes for trial or discovery.” Id. (internal quotation marks omitted); see also
Mercedes, 254 F.3d at 437 (“[The defendant] has twice been convicted of weapon possession—
one felony conviction, and one misdemeanor conviction. We find the district court committed
clear error in failing to credit the government’s proffer with respect to [the defendant’s]
dangerousness.”).

                Where a judicial officer concludes after a hearing that “no condition or
combination of conditions will reasonably assure the appearance of the person as required and
the safety of any other person and the community, such judicial officer shall order the detention
of the person before trial.” 18 U.S.C. § 3142(e)(1).

III.   Argument

               As discussed below, the defendant should be detained pending trial because the
defendant fails to overcome the statutory presumption that no condition or combination of
conditions will reasonably assure the appearance of the defendant as required and the safety of
the community. See 18 U.S.C. § 3142(e)(3)(A). Additionally, the Section 3142(g) factors
counsel heavily in favor of the defendant’s detention.

       A.      Nature and Circumstance of the Crimes

                 The nature and circumstances of the charged offenses are extremely serious.
Driven by greed and complete disregard to the safety of the community, the defendant did not
hesitate to sell guns and drugs, two of the most dangerous elements currently affecting New
York City, including this District. Between September 2024 and November 2024, the defendant
was able to acquire and sell more than one kilogram of narcotics, approximately 100 grams of
which contained methamphetamine, a highly addictive controlled substance, and 11 firearms, as
well as various rounds of ammunition. Most concerningly, among the 11 firearms the defendant
trafficked were five assault rifles with accompanying high-capacity magazines and ammunition
rounds compatible with those rifles. Such high-powered and automatic rifles pose an even
greater threat to the community—in the wrong hands, a single assault rifle can kill or gravely
injure a large group of people in an incident, especially in a dense metropolitan area like New
York City.

       B.      Weight of the Evidence

                The government’s evidence is strong. As discussed above, all seven incidents in
which the defendant sold narcotics and/or firearms were captured on audio and video recordings
that visibly show the defendant’s face during the sales, and each incident was monitored by law
enforcement agents. The evidence also includes the defendant’s phone records and
communications arranging the sales.




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       C.      History and Characteristics of the Defendant

                As described above, although the defendant has no criminal history, at least in the
United States, the defendant has been remaining in the United States unlawfully and without
status, thus further demonstrating his disregard for the law and risk of flight.

       D.      The Defendant Poses a Danger and a Risk of Flight

                 Given the seriousness of the conduct outlined above, the defendant’s release
would present a serious danger to the community. As the defendant demonstrated in the firearm
sales discussed above, the defendant was able to obtain 11 firearms, including high powered
assault rifles, in just a one-month span. For example, for a transaction in November 2024 alone,
the defendant readily obtained and then sold three assault rifles, along with accompanying
magazines and ammunition rounds. See United States v. Smalls, No. 20-CR-216 (LTS), 2020
WL 1866034, at *1 (S.D.N.Y. Apr. 14, 2020) (declining to overrule magistrate judge’s pretrial
detention determination that was based in part on “the general danger to the community posed by
[the defendant’s] apparently ready to access to firearms”). If released, the defendant will
continue to pose a danger to the community, including to potential witnesses in this case. This
danger cannot be cured by any combination of release conditions.

                The defendant also faces significant evidence of his criminal conduct and harsh
penalties prescribed by law, giving him a substantial incentive to flee. “When faced with the
possibility of a significant prison term, defendants have a strong incentive to flee.” United States
v. Edwards, 2021 WL 796089, at *2 (E.D.N.Y. Mar. 2, 2021). The government preliminarily
estimates that the defendant’s Guidelines range for the charged conduct is 78 to 97 months’
imprisonment, 60 months of which is a mandatory minimum sentence under 21 U.S.C.
§ 841(b)(1)(B)(viii). The Second Circuit has held that the possibility of a severe sentence—
including a sentence similar to the one the defendant faces—can establish flight risk. See United
States v. Scali, 738 F. App’x 32, 33 (2d Cir. 2018) (“The court reasonably determined that [the
defendant]’s Guidelines range of 87-108 months’ imprisonment was significant enough to
provide an incentive to flee.”); see also United States v. Khusanov, 731 F. App’x 19, 21 (2d Cir.
2018) (“[A] district court does not clearly err in concluding that a defendant facing a potentially
lengthy prison sentence possesses a strong motive to flee.”). In addition, the defendant poses an
even greater risk of flight because he has significant ties to his home country of Venezuela,
having illegally entered the United States relatively recently in 2023. See United States v.
Zhang, No. 22-CR-208, 2022 WL 17420740, at *3, aff’d, 55 F.4th 141 (2d Cir. 2022) (finding
that the defendant’s Chinese citizenship and significant ties to both China and Taiwan
“enhance[d] his risk of flight”). When considering the defendant’s substantial incentive to flee
and significant foreign ties together, the defendant unquestionably poses a real risk of flight. See
United States v. Boustani, 356 F. Supp. 3d 246, 255 (E.D.N.Y. 2019), aff’d, 2019 WL 2070656




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(2d Cir. Mar. 7, 2019) (“This Court must look to the totality of the circumstances and of
Defendant’s characteristics, which ultimately demonstrate a risk of flight.”).

IV.    Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
issue a permanent order of detention against the defendant pending trial.


                                                     Respectfully submitted,

                                                     CAROLYN POKORNY
                                                     Acting United States Attorney

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cc:    Clerk of Court (LKE)
       Defense Counsel (via ECF and email)




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